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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                      :
United States of America,                             :
                                                      :
                v.                                    :      No. 20 Cr. 626 (PMH)
                                                      :
Caswell Senior, et al.,                               :      NOTICE OF MOTION
                                                      :
                               Defendants.            :
                                                      :


           PLEASE TAKE NOTICE, that upon the annexed Memorandum of Law, Defendant

CASWELL SENIOR, by his attorneys, JAMES KOUSOUROS and STUART GOLD, hereby

moves this Court for an Order:

           1.   Granting the defense leave to file additional motions depending on the outcome of

outstanding discovery issues related to the preservation and authentication of text messages

provided to the defense pursuant to Fed. R. Crim. P. 16;

           2.   Suppressing evidence seized pursuant to a warrant to search Mr. Senior’s Apple

iCloud Account;

           3.   Directing that the Government reveal any evidence it intends to introduce at trial

pursuant to Fed. R. Evid. 404(b) sixty days before trial;

           4.   Directing the pretrial disclosure of all exculpatory and impeachment material;

           5.   Permitting the Defendants to file additional motions which may arise from the

requests made herein; and

           6.   Providing any such relief as the Court may deem proper and in the interest of

justice.
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Dated: New York, NY
       March 22, 2022

                                         Respectfully submitted,

                                         /s/ James Kousouros
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